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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF OKLAHOMA

1. DANNY VILLAREAL,                                  )
                                                     )
                                Plaintiff,           )
                                                     )   Case No. CIV-17-397-HE
vs.                                                  )
                                                     )
1. JETTA CORPORATION                                 ) JURY TRIAL DEMANDED
                                                     ) ATTORNEYS LIEN CLAIMED
                                Defendant.           )

                                             COMPLAINT

           COMES NOW the Plaintiff, Danny Villareal, an individual, (“Plaintiff”) and for

his claims for relief against Jetta Corporation (“Jetta”), and alleges and states as follows:

                                JURISDICTION AND VENUE

      1.      This is a civil action brought pursuant to Title VII of the Civil Rights Act of

              1964, as amended 42 U.S.C §§ 2000 et seq.

      2.      Jurisdiction over the subject matter of this action is vested in this Court

              pursuant to 42 U.S.C. § 2000 et seq.

      3.      Venue is proper in this district and division under 42 U.S.C. § 2000 e-5 (f)(3),

              because the unlawful employment practice occurred within this district and

              division by a defendant residing within this district and division.

      4.      State law claims are permitted by supplemental jurisdiction under 28 U.S.C. §

              1367 et seq.

      5.      At all times material hereto, Plaintiff, was a resident of the State of Oklahoma.
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6.    The Plaintiff timely filed a charge with the Equal Employment Opportunity

      Commission (hereinafter “E.E.O.C”) and gave the agency ample information

      in which they could investigate his legal claims, and informed the agency of

      other evidence or information within his control.

7.    The E.E.O.C. mailed their Notice of Right to Sue on January 12, 2017, closing

      their investigation of Plaintiff’s claim.

8.    The Plaintiff was given a “right to sue” on January 12, 2017; this action is

      timely filed within ninety days of receipt of “right to sue letter.”

                                     PARTIES

9.    Plaintiff is a resident of Tulsa County, State of Oklahoma.

10.   Jetta Corporation is incorporated in the state of Oklahoma with its principal

      place of business located at 425 Centennial Boulevard, Edmond, Oklahoma

      within the jurisdiction of this Court.

                    FACTS COMMON TO ALL COUNTS

11.   Plaintiff was employed by Jetta Corporation as an outside sales representative.

12.   Plaintiff’s primary job was to contact builders and contractors to sell Jetta’s

      tubs and whirlpool baths.

13.   Plaintiff was hired to develop the Tulsa market in 2001. After Plaintiff was

      hired, average sales more than doubled. In 2008, Jetta decided to move from

      their showroom and sell their products through Metro Builders. Supply.

      Plaintiff decided to quit Jetta and took an offer with Architectural Market.

      Within a two-year period, Jetta sales dropped from $85,000 to $15,000 per
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      month. After Plaintiff was rehired in 2011 average sales went from $15,000

      per month to $70,000 per month.

14.   Plaintiff consistently won various sales contests which included winning a year

      long sales contest which resulted in a Bahama cruise and cash bonus in 2004.

      For the duration of his employment at Jetta, Plaintiff has met or exceeded his

      sales quota at Jetta.

15.   Plaintiff was known inside the company as “Danny Grand” because his

      average selling price per bathtub was consistently over $1,000 (an all-time

      company high). Plaintiff was such a successful salesman that his customers

      called him “Mr. Jetta.”

16.   In the fall of 2015, the President of the company, Sarah Fields, greeted him at a

      quarterly sales meeting and told him that “he was a legend” and to keep up the

      good work.

17.   Due to the fast growth of the Tulsa office, Jetta hired an inside salesperson

      named Shanell Horton to help take orders at the Tulsa office in 2014. Shanelle

      Horton was paid hourly and less than Plaintiff.

18.   All went well for two years. Plaintiff contacted builders and contractors in his

      outside sales capacity and delivered the tubs directly to the builders. Shanell

      Horton took incoming orders and performed various administrative functions.

19.   In September 2015, Jetta placed Mike Tucker (“Tucker”) in a supervisory

      capacity over the Tulsa office. He would occasionally drive to Tulsa to check

      on it.
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20.   Shanell Horton is a petite blond Caucasian female with above average looks in

      her mid-thirties. Plaintiff is a stocky Hispanic gentleman in his early sixties.

      Mike Tucker is a middle-aged Caucasian male of average looks.

21.   From the first month that Tucker was appointed as Plaintiff’s supervisor,

      Tucker demonstrated a clear preference for Shanell Horton over Plaintiff

      because she was an attractive female. Tucker flirted with her, high-fived her,

      complimented her on work-related and non work-related accomplishments, and

      constantly demanded that Plaintiff “be more like Shanell” right in front of her.

22.   Tucker would take Shanell Horton on certain sales calls to Plaintiff’s

      customers wearing a tight black dress. On at least one occasion they were

      gone for much longer than a sales meeting would normally take.

23.   Tucker would ask detailed questions that no one could answer in front of

      Shanell Horton to humiliate Plaintiff and show off for her.

24.   Tucker only congratulated Shanell Horton when the Tulsa office had seven

      record-breaking months in a row due mostly to Plaintiff’s efforts.

25.   Tucker gave one of Plaintiff’s biggest customers to Shanell Horton.

26.   After Plaintiff achieved another record-breaking month of sales, Tucker grilled

      Plaintiff again over his performance, accused him of being unmotivated and

      threatened to fire him. He told him that he was “just an overpaid delivery

      boy.”

27.   Tucker began a continuous campaign of micro-managing Plaintiff and nit-

      picking him over minor details of his work which had never been a problem
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      before because he was and continued to be one of the top salesman in the

      company. He did not treat Shanell Horton in this negative manner.

28.   On June 16, 2016 the temperature reached 115 degrees heat index. Tucker

      took Plaintiff into the hot unconditioned warehouse and grilled him for hours

      about his performance and sales, despite the fact that he had exceeded quota

      every month so far for the year. He threatened to make Plaintiff inside sales

      with a considerable decrease in pay and give Shanell Horton his outside sales

      job.

29.   When Plaintiff began to get light-headed from Tucker’s statement and from the

      heat in the warehouse plaintiff said he might faint, Tucker said, “Ok but if you

      faint don’t expect me to give you mouth-to-mouth I’m married…maybe

      Shanell would.” Plaintiff then called Scott Craddick, CFO of Jetta, on or about

      Wednesday, June 29, 2016 and reported Tucker’s conduct.

30.   Craddick promised to respond to Plaintiff’s concerns by Friday, July 1, 2016.

      He never responded.

31.   In mid-July of 2016, Plaintiff filed a complaint with the EEOC. A few days

      after Jetta received notice of Plaintiff’s complaint, it terminated him.

32.   Plaintiff was terminated on August 19, 2016.          On the date Plaintiff was

      terminated, he was $60,000 ahead of his sales quota for the year.
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    33.      Plaintiff suffers from a severe case of plaque psoriasis. 1 Due to the severity of

             his condition, he requires a drug called Stelara. Stelara costs an insurance

             company $28,000 per shot, and Plaintiff needed four shots per year to control

             it.

    34.      Since he was terminated and lost his health insurance benefits, he has missed

             three Stelara shots and his condition has flared up, causing severe pain,

             discomfort and embarrassment.

    35.      Since Plaintiff was terminated, the sales in the Tulsa region have dropped.

    36.      Plaintiff’s plaque psoriasis has been so painful that it has caused him to be

             unable to work as much as he could to make money.

                                      FIRST CLAIM FOR RELIEF
    DISCRIMINATION BASED ON RACE (TITLE VII) AND THE OKLAHOMA ANTI-
              DISCRIMINATION ACT (OADA) 25 O.S. § 1301 ET SEQ

    37.      The foregoing paragraphs are incorporated as if they were set out herein.

    38.      Plaintiff was treated differently than Shanell Horton because she was a white

             woman and he was a Hispanic man. Tucker treated Shanell Horton better than

             he treated Plaintiff because she was a woman whom he wished to impress.

    39.      Tucker referred to him as “boy” and implied Plaintiff was homosexual by

             objecting to giving him unsolicited mouth-to-mouth resuscitation.

    40.      Plaintiff placed the chief financial officer of the company on notice of this

             unfair treatment, no changes were made, and he was terminated in response.



1
  Plaque psoriasis causes a painful scaly rash to spread over the skin. Plaintiff has a severe case which can only be
stopped with Stelara.
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   41.      Defendant engaged in unlawful employment practices by terminating the

            Plaintiff and treating him differently than a similarly situated Caucasian female

            and has violated Title VII of the Civil Rights Act of 1964.

   42.      If Plaintiff had been a pretty blond woman with the same outstanding sales

            numbers willing to flirt with Tucker like Shanell Horton did, he never would

            have been fired.

   43.      By continually subjecting the Plaintiff to disparate treatment based on race and

            terminating the Plaintiff’s employment, Defendant violated Title VII of the

            Civil Rights Act of 1964 and the Oklahoma Anti-Discrimination Act (OADA)

            25 O.S. § 1301 et seq.

WHEREFORE, Plaintiff prays for judgment against Defendant for:

   a. Back pay and lost benefits; front pay until normal retirement;

   b. Compensatory damages for her mental anguish, pain and suffering and other non-

         pecuniary losses;

   c. Punitive damages for the intentional and knowing acts of discrimination

         committed by Defendant’s management and executives;

   d. Attorney fees and the costs and expenses of this action;

   e. Equitable Relief.

   f. Such other relief as the Court deems just and equitable.

                               SECOND CLAIM FOR RELIEF
                             (HOSTILE WORK ENVIRONMENT)

   44.      The foregoing paragraphs are incorporated as if they were set out herein.
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   45.      Tucker’s actions constituted a hostile work environment for Plaintiff.

   46.      The Defendant allowed a hostile work environment to persist after Plaintiff

            reported the harassment and discrimination perpetrated by Tucker.

WHEREFORE, Plaintiff prays for judgment against Defendant for:

   a. Back pay and lost benefits; front pay until normal retirement;

   b. Compensatory damages for her mental anguish, pain and suffering and other non-

         pecuniary losses;

   c. Punitive damages for the intentional and knowing acts of discrimination

         committed by Defendant’ss management and executives;

   d. Attorney fees and the costs and expenses of this action;

   e. Equitable Relief.

   f. Such other relief as the Court deems just and equitable.

                          THIRD CLAIM FOR RELIEF
                   (RETALIATION IN VIOLATION OF TITLE VII)

   47.      The foregoing paragraphs are incorporated as if they were set out herein.

   48.      The Plaintiff engaged in protected opposition to discrimination by filing a

            complaint with the Equal Employment Opportunity Commission (“EEOC”).

   49.      The Defendant engaged in adverse and unlawful employment practices by

            terminating him for engaging in protected activity when he reported the

            discrimination and harassment to the CFO of Jetta Corporation and the EEOC

            in violation of Title VII of the Civil Rights Act of 1964.

   50.      Plaintiff was fired a few days after the Defendant received the EEOC notice.
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   51.      By taking adverse actions against the Plaintiff for his participation in protected

            activity, Defendant has violated Title VII of the Civil Rights Act of 1964, as

            amended, 42 U.S.C. § 2000e, et. seq.

WHEREFORE, Plaintiff prays for judgment against Defendant for:

   a. Back pay and lost benefits; front pay until normal retirement;

   b. Compensatory damages for her mental anguish, pain and suffering and other non-

         pecuniary losses;

   c. Punitive damages for the intentional and knowing acts of discrimination

         committed by Defendant’s management and executives;

   d. Attorney fees and the costs and expenses of this action;

   e. Equitable Relief.

   f. Such other relief as the Court deems just and equitable.

                             FOURTH CLAIM FOR RELIEF
          (DISCRIMINATION BASED ON AGE IN VIOLATION OF THE ADEA)

   52.      The foregoing paragraphs are incorporated as if they were set out herein.

   53.      The Defendant engaged in unlawful employment practices by replacing him

            with a younger, prettier employee because she was younger and prettier.

   54.      If Plaintiff been a young, pretty blond with the same outstanding sales

            numbers, Plaintiff would never have been terminated.

   55.      The foregoing conduct violates the ADEA of 1967 as amended, 29 U.S.C. §

            621 et seq.
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   56.      Plaintiff experienced disparate treatment compared to co-workers under the

            age of forty (40) with regard to job assignments, training, discipline, benefits,

            and termination from employment in violation of the ADEA.

   57.      Defendant’s discriminatory practices have resulted in the loss of past and

            future wages and other job benefits, and have caused Plaintiff to suffer

            humiliation, embarrassment, and emotional distress.

   58.      Defendant committed the act alleged with malice or reckless indifference to the

            protected rights of the Plaintiff. Plaintiff is thus entitled to recover punitive

            damages in an amount to be determined by a jury.

   59.      Upon information and belief, Plaintiff’s termination was motivated in by his

            age, in violation of the ADEA.

WHEREFORE, Plaintiff prays for judgment against Defendant for:

   a. Back pay and lost benefits; front pay until normal retirement;

   b. Compensatory damages for her mental anguish, pain and suffering and other non-

         pecuniary losses;

   c. Punitive damages for the intentional and knowing acts of discrimination

         committed by Defendant’s management and executives;

   d. Attorney fees and the costs and expenses of this action;

   e. Equitable Relief.

   f. Such other relief as the Court deems just and equitable.

JURY TRIAL DEMANDED ON ALL ISSUES SO TRIABLE.
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                              Respectfully submitted,

                              SALMON LAW FIRM,

                              s/ CALEB M. SALMON
                              ___________________________________
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